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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA,
                                                      Case No. 1:23-cv-00369-NRM-RML
                           Plaintiff,

                  -against-

    RARE BREED TRIGGERS, LLC; RARE
    BREED FIREARMS, LLC; LAWRENCE
    DEMONICO; KEVIN MAXWELL,

                          Defendants.



                DEFENDANTS’ DEPOSITION TRANSCRIPT DESIGNATION

           Defendants Rare Breed Triggers, LLC, Rare Breed Firearms, LLC, Lawrence DeMonico,

    and Kevin Maxwell, hereby provide their deposition transcript designations for the August 1 and

    2 preliminary injunction hearing.

     Name         of Defendants’        Cross-                Response         to Court Ruling
     Deponent        Designation        Designation/Objection Objection
     Jennifer        17:24 – 18:17
     Pierson
     Jennifer         34:21 – 35:8
     Pierson
     Jennifer         42:9 – 43:23
     Pierson
     Jennifer         98:3-14
     Pierson




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         Defendants reserve the right to amend or supplement this designation list.

                July 25, 2023

                                                      DHILLON LAW GROUP INC.
                                                      A CALIFORNIA PROFESSIONAL CORPORATION


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